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 4

 5
     Attorney for Benjamin Lozano-Rosas

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8   THE UNITED STATES OF AMERICA,     ) No. CR-S-07-360 EJG
                     Plaintiff,        )
 9                                     ) STIPULATION AND
           v.                          ) ORDER TO CONTINUE STATUS
10
                                       ) CONFERENCE
11   GUSTAVO MONTEZ-VASQUEZ AND        )
     BENJAMIN LOZANO-ROSAS,            ) Date: 4-18-08
12                    Defendants.      ) Time: 10:00 a.m.
13
     ================================) Judge: Hon. Edward J. Garcia

14          It is hereby stipulated between the parties, Heiko Coppola, Assistant United States Attorney,
15
     Caro Marks, attorney for defendant Gustavo Montez-Vasquez, and Michael Long, attorney for
16
     Benjamin Lozano-Rosas, that the status conference date of March 14, 2008, should be continued until
17
     April 18, 2008. The continuance is necessary as defense counsel are still investigating the case and all
18

19   counsel are continuing to engage in negotiations.

20          IT IS STIPULATED that the period of time from the signing of this Order up to and including
21
     April 18, 2008, be excluded in computing the time within which trial must commence under the Speedy
22
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing preparation of
23

24   counsel.

25   Dated: March 7, 2008                                      Respectfully submitted,
26
                                                               /s/ Michael D. Long__________
27                                                             MICHAEL D. LONG
                                                               Attorney for Mr. Lozano-Rosas
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 1   Dated: March 7, 2008                       /s/ Caro Marks _____ .
                                                CARO MARKS
 2
                                                Assistant Federal Defender
 3                                              Attorney for Gustavo Montez-Vasquez

 4   Dated: March 7, 2008
 5
                                                McGREGOR SCOTT
                                                United States Attorney
 6
                                                /s/ Heiko Coppola____
 7
                                                HEIKO COPPOLA
 8                                              Assistant U.S. Attorney

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 5
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
     THE UNITED STATES OF AMERICA,                    ) No. CR-S-07-07-360 EJG
 7
                     Plaintiff,                       )
 8                                                    ) ORDER
             v.                                       )
 9                                                    ) Date: 4-18-08
     GUSTAVO MONTEZ-VASQUEZ AND                       ) Time: 10:00 a.m.
10
     BENJAMIN LOZANO-ROSAS,                           ) Judge: Hon. Edward J. Garcia
11                    Defendant.                      )
     ================================)
12
             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the status
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     conference presently set for March 14, 2008, at 10:00 a.m. be continued to April 18, 2008, at 10:00
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     a.m. Based on the representations of counsel and good cause appearing therefrom, the Court hereby
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     finds that the failure to grant a continuance in this case would deny defense counsel reasonable time
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     necessary for effective preparation, taking into account due diligence. The continuance outweighs the
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     best interests of the public and the defendants to a speedy trial. It is ordered that time from this date to
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     April 18, 2008, shall be excluded from computation of the time within which the trial of this matter
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     must be commenced under the Speedy Trial Act pursuant to to 18 U.S.C. § 3161(h)(8)(B)(iv) and
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     Local Code T4, to allow counsel time to prepare.
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22   Dated: March 11, 2008                                     /s/ Edward J. Garcia
23
                                                               EDWARD J. GARCIA
                                                               Senior United States District Judge
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